Case 5:21-cv-01130-AB-MRW Document 38 Filed 05/31/22 Page 1 of 2 Page ID #:264




                                                               JS-6


                      UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

 INNOVATIVE IMPORTS, INC., a      )
                                  ) Case No.: 5:21-cv-1130-AB (MRWx)
 California Corporation           )
             Plaintiff,           )
                                  ) ORDER DISMISSING ACTION
                                  ) WITH PREJUDICE
                                  )
                 v.               )
                                  )
                                  )
 5150 WHIPS, INC., a California   )
                                  )
 Corporation                      )
             Defendant.           )
                                  )
                                  )
                                  )
                                  )
                                  )
     Case 5:21-cv-01130-AB-MRW Document 38 Filed 05/31/22 Page 2 of 2 Page ID #:265




 1          The Court, having reviewed the parties’ joint stipulation for dismissal with
 2    prejudice of the entire action, (Dkt. Nos. 34, 37), hereby ORDERS this action
 3    DISMISSED WITH PREJUDICE in its entirety, including all claims and
 4    counterclaims, pursuant to Rule 41(a)(1)(A)(ii) and (c) of the Federal Rules of Civil
 5    Procedure, with each party to bear its own attorneys’ fees and costs.
 6

 7    IT IS SO ORDERED.
 8

 9    Date: May 31, 2022                            ______________________
10
                                                    Honorable André Birotte Jr.
                                                    United States District Judge
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                1
